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                                     EXHIBIT A
                                                                     Ex. A - 1
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                                                                                                                                                         ei III_4AA

                                        SUMMONS                                                                               FOR C0URTUSE ONLY
                                                                                                                          (SOLO PARA USO 05 LA CORTE)
                                    (CITACION JUDICIAL)
NOTICE TO DEFENDANT:
(AVISO AL DEMANDADO):
 SPS Technologies, LLC, dba Air Industries Company, a Pennysivania                                                 ELECTRONICALLY FILED
 limited liability company; and, Does 1 through 100, inclusive                                                       Superior Court of California,
                                                                                                                         County of 0rançe
YOU ARE BEING SUED BY PLAINTIFF:                                                                                      06/2112016 at 01:00:00 PM
(LO ESTA DEMANDANDO EL DFMANDANTE);
                                                                                                                     Clerk of the Superior Court
Albert Wilcox, on behalf of himself and all others similarily situated                                              By Sarah Loose,Deputy Clerk


                             sued. The court may decide against you without your being heard unless you
 below.
    You have 30 CALENDAR DAYS after this summons and legal papers are served on you to file a written response at this court and have a copy
 served on the plaintiff. A letter or phone call will not protect you. Your written response must be In proper legal form if you want the court to hear your
 case. There may be a court form that you can use for your response. You can find these court forms and more information at the California Courts
 Online Self-Help Center (www.courtinfo.ca.gov/solThelp), your county law library, or the courthouse nearest you. If you cannot pay the filing fee, ask
 the court clerk for a fee waiver form. If you do not file your response on time, you may lose the case by default, and your wages, money, and property
 may be taken without further warning from the court.
     There are other legal requirements. You may want to call an attorney right away. If you do not know an attorney, you may want to call an attorney
 referral service. If you cannot afford an attorney, you may be eligible for free legal services from a nonprofit legal services program. You can locate
 these nonprofit groups at the California Legal Services Web site (www.lawhelpcalifomie.org), the California Courts Online Self-Help Center
 (www.courtinfo.ca.gov/solmeip), or by contacting your local court or county bar association. NOTE: The court has a statutory lien for waived fees and
 costs on any settlement or arbitration award of $10,000 or more in a civil case. The court's lien must be paid before the court will dismiss the case.
 ,AVISOI Lo han demandado. Si no respondo denIm do 30 dies, Ia corte puede decidiren su contra sin escucharsu version. Lea/a informaclOn a
 continuacibn.
    Tiene 30 DIAS DE CALENDARIO despubs de qua 10 entreguen oslo cites/on y papeles legalos pare presenter una respuesta pot escrito an oslo
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 podrO quitor su sueldo, dinero y bienes sin mbs advertencla.
   Hey otms requisites logo/os. Es recomenclebbe qua ilame a un abogado inmediatemento. S/no canoce a un abogado, pueda I/amer a un swvlcio de
 rem/s/On a abogados. SI no puede pager a un abogado, as poslble qua cumpla con los requisites pare oblener seivicios loge/es gratuitos do un
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 (www.lawhelpcalifomia.org), an at Contra do Ayude do las Cortos do California, (www.sucorte.ca.gov) o pan/b ndose an contacto con Ia carte o at
 colegio do abogados locales. A V/SO: Pot fey, Ia coile f/one derecho a reciamer las cuotas y los costos oxen/es par /mponer un gravamen sobre
 cue/quier recuporaclOn do $10,000 6 mbs de valor recibida med/ante un acuerdo o una concesiOn do arbitraje an un caso do derecho civil. Tiane quo
 pager el gravamen do Ia carte antes de qua Ia carte pueda desechar a! case.
The name and address of the court is:                                                                       lCE NUMBER:
                                                                                                                 ro do! Case):
(El nombre y dirección do Ia cone as):            Orange County Superior Court
Civic Complex Center                                                                                        177     30-2016-00859043-CU-O            E- CXC
751 W. Santa Ana Blvd., Santa Ma, CA 92701
                                                                                                                                 Judge l(]m G. Dunning
The name, address, and telephone number of plaintiffs attorney, or plaintiff without an attorney, is:
(El nombre, Ia dirección ye! nUmero do telOfono del abogado del demandante, o del demandante qua no tiene abogado, es):
Sam Kim, Esq., Verum Law Group, APC 841 Apollo St, 340, El Seffundo, CA 90245
                                                                                                ALAN CARLSON, Clerk of the Court
                                                                                  Clerk, by                                                            ,Deputy
DATE: OOt.21t2016
(Fecha)                             r                                (Secrete rio)          'Zt--'                                                       (
                                                                                                                                                      - Adjunto)
(For proof of service of this summons, use Proof of Service of Summons (form POS-010).)
(Pare prueba do enttoga do osta citation use el formulario Proof of Service of Summons, (POS-010)).                                    Sarah Loose
                                        LI#'Iá     i#% VLI          0FII
                                        I'l', I     I  I ri                           J'JU a1v awlvvU

                                                   as an individual defendant.
                                                   as the person sued under the fictitious name of (specify):


                                                   on behalf of(specii):2S                      TEC (J       ,C)..-O
                                                                                                                                        /   t L(J
                                           under              CCP 416.10 (corporation)                [] CCP 416.60 (minor)
                                                              CCP 416.20 (defunct corporation)        c: CCP 416.70 (conservatee)
                                                              CCP 416.40 (association or partnership)        EJ
                                                                                                           CCP 416.90 (authorized person)
                                                              other (speci)Sj):         •
                                          [!]by personal delivery on (date):                /   /                                                            Page
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   Judicial Council of California
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  SUM-ISO (Rev. July 1,20091


                                                                                                                                                Ex. A - 2
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                                                                                ELECTRONICALLY FILED
                                                                                 Superior Court of California.
                                                                                     County of Orange
      Yoonis Han [SBN 256151]
                                                                                  06/2012016 at 04:49:05 PM
      Sam Kim [SBN 258467]
  2                                                                               Clerk of the Superior Court
      VERUM LAW GROUP, APC                                                    By Georgina Ramirez,Deputy Clerk
      841 Apollo Street, Suite 340
  3
      El Segundo, California 90245
  4   Tel: (424) 320-2000
      Fax: (424) 221-010
  5   yhanverumlg.com

  6   Attorneys for Plaintiff ALBERT WILCOX, and
      all others similarly situated
  7

  8                       SUPERIOR COURT OF THE STATE OF CALIFORNIA
  9                                   FOR THE COUNTY OF ORANGE
 10
      ALBERT WILCOX, on behalf of himself and all CASE NO. 30-2016.00859043-CU-0ECXC
                                                                        Jige urn G. Dunning
 11   others similarly situated,                   Unlimited Civil
                                                                   CX-1 04
 12                                                        CLASS ACTION COMPLAINT
                     Plaintiffs,
 13          vs.
                                                               FAILURE TO PAY ALL WAGES
 14   SPS TECHNOLOGIES, LLC, dba AIR                           FAILURE TO PROVIDE MEAL
      INDUSTRIES COMPANY, a Pennsylvania                       PERIODS OR COMPENSATION IN
 15   limited liability company; and, DOES I through           LIEU OF
      100, inclusive,                                          FAILURE TO PROVIDE REST
 16                                                            BREAKS OR COMPENSATION IN
                     Defendants.                               LIEU OF
 17
                                                               FAILURE TO PROVIDE ACCURATE
 18                                                            ITEMIZED WAGE STATEMENTS
                                                               WAITING TIME PENALTIES
 19                                                            VIOLATIONS OF THE UNFAIR
                                                               COMPETITION LAW
 20
                                                           DEMAND FOR JURY TRIAL
 21

 22

 23          Plaintiff ALBERT WILCOX (hereinafter "Plaintiff"), on behalf of himself and all others

 24   similarly situated, brings this action against defendant SPS TECHNOLOGIES, LLC dba AIR

 25   INDUSTRIES COMPANY, and DOES 1-100 (collectively "Defendants"), and alleges on

      information and belief, except those allegations relating to Plaintiff himself, which are asserted on
 26
      personal knowledge as follows:
 27
      I/I
 28


                                         CLASS ACTION COMPLAINT

                                                                                                Ex. A - 3
     Case 8:16-cv-01528-AB-JC Document 1-4 Filed 08/18/16 Page 4 of 35 Page ID #:33

I!




                                           I.       JURISDICTION AND VENUE
       2           1.      This Court has jurisdiction over this action pursuant to Code of Civil Procedure

       3   §4 10.10 as Defendants do business in the State of California and have employed Plaintiff and each

       4   member of the putative class in the State of California and all nf the. unlawful conductalleged herein

       5   occurred in the State of California.
       6          2.       The California Superior Court has jurisdiction in the matter because Plaintiffs

       7   individual claims are under the seventy-five thousand dollar ($75,000.00) jurisdictional threshold for

       8   federal court, Plaintiff and Plaintiff Class' aggregate claims are under the five million dollar

       9   ($5,000,000.00) jurisdictional threshold for federal court and, upon information and belief, Plaintiff

      10   and each defendant are residents of and/or domiciled in the State of California. Further, there is no
      11   federal question at issue as the issues herein are based solely on California statutes and laws
      12   including the California Labor Code, Industrial Welfare Commission Wage Orders, Code of Civil
      13   Procedure, Rule of Court, and Business and Professions Code.
      14           3.      Venue is proper in this Court because Plaintiff, at all relevant times, was employed at
      15   a place of business located within the County of Orange.
      16           4.      Venue as to each defendant is proper in this judicial district pursuant to Code of Civil

      17   Procedure §3 95. Defendants operate and do business within the State of California, including
      18   Orange County, and each defendant is within the jurisdiction of this Court for service of process

      19   purposes. The unlawful acts alleged herein have a direct effect on Plaintiff and each of the similarly-

      20   situated members of the putative class within the State of California ("Plaintiff Class"). Defendants
      21   employ numerous members of the Plaintiff Class within the State of California, including Orange

      22 County, California.
      23           5.      Plaintiff is informed, believes, and thereon alleges that Defendants are the only
      24   primary defendants in this action and, at all times pertinent hereto, were and are citizens of the forum
      25   state of California.
      26           6.      Plaintiff is informed, believes, and thereon alleges that Defendants' conduct, as
      27 alleged herein, forms a significant basis for the claims asserted by Plaintiff and his fellow members

      28   of the Plaintiff Class in this action.


                                                  CLASS ACTION COMPLAINT

                                                                                                     Ex. A - 4
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              7.      Plaintiff is informed, believes, and thereon alleges that Plaintiff and his fellow
  2   members of the Plaintiff Class are seeking significant relief from Defendants.
  3           8.      Plaintiff is informed, believes, and thereon alleges that the principal injuries sustained
  4   by Plaintiff and his frilow mmhers of the Plaintiff Clwis; as alleges fieriri, résuItd from the
  5   conduct of Defendants, and were incurred in the forum state - California.
  6           9.      Plaintiff is informed, believes, and thereon alleges that the claims asserted in this
  7   action do not involve matters of national or interstate interest; rather, this Class Action involves a
  8   local controversy of the forum state - California.
  9           10.     Plaintiff is informed, believes, and thereon alleges that the claims asserted is this
 10   action will be governed exclusively by the laws of the forum state - California - the state in which
 11   this action is originally filed.
 12           H.      Plaintiff is informed, believes, and thereon alleges that this action is brought in the
 13   County of Orange Superior Court for the State of California as said forum has a distinct nexus with
 14   Plaintiff and his fellow members of the Plaintiff Class, the harm alleged, as well as Defendants.
 15           12.     Plaintiff is informed, believes and thereon alleges that, at all times mentioned herein,
 16   the number of citizens from the forum state of California, the state in which the action was originally
 17   filed, comprising the proposed Plaintiff Class in the aggregate is substantially larger than the number
 18   of citizens from any other state, and the citizenship of the other members of the Plaintiff Class is
 19   dispersed among a substantial number of states.
 20           13.      Plaintiff is informed, believes and thereon alleges that, at all times mentioned herein,
 21   the claims alleged in this action, and the causes of action derived therefrom, do not involve a federal

 22 question(s).
 23                                          II. INTRODUCTION
 24           14.     This is a Class Action, pursuant to Code of Civil Procedure §382, on behalf of
 25   Plaintiff and other similarly-situated members of the Plaintiff Class employed by or formerly
 26   employed by Defendants within the State of California.
 27           15.     For at least four years prior to the filing of this action and through to the present,
 28   Defendants have had a consistent policy of failing to: pay all wages, including minimum wages,

                                                     3
                                          CLASS ACTION COMPLAINT

                                                                                                  Ex. A - 5
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LI




           regular and overtime wages, provide meal and rest breaks, pay wages of terminated or resigned

       2   employees, comply with the itemized wage statement provisions, in violation of California wage and

       3   hour laws, provide valid written notice compliant with Labor Code §28 10.5, and violating the Unfair

       4   Competition law under Busincss&-ProfessionsCbdc § 17200et seq.

       5          16.      Plaintiff, on behalf of himself and all members of the Plaintiff Class, brings this

       6 action pursuant to, including but not limited to, Labor Code §200, 201, 202, 203, 204, 226, 226.7,

       7 510, 512, 1194, and applicable Wage Orders, seeking unpaid overtime wages and/or proper
       8   calculation of the overtime rate, meal and rest period premiums, penalties, and reasonable attorneys'

       9 fees and costs.
      10          17.      Plaintiff, on behalf of himself and all members of the Plaintiff Class, pursuant to

      11   Business & Professions Code §17200 and 17208, also seeks restitution of unpaid wages and

      12 reimbursements.
      13                                           III.    THE PARTIES

      14          18.      Plaintiff ALBERT WILCOX resides in the County of Orange in the State of

      15   California. Plaintiff was employed by Defendants as a "production line" employee and performed

      16 duties including but not limited to manufacturing bolts for airplanes, between approximately 2010 to

      17 approximately 2015.
      18          19. Defendant SPS TECHNOLOGIES, LLC dba AIR INDUSTRIES COMPANY
      19   ("AIC") is a Pennsylvania limited liability company, with its principal place of business in Orange

      20 County, California, that is an established industry leader in manufacturing high-strength precision

      21   fasteners for aerospace and defense prime contractors.
      22          20.      DOES I through 100, inclusive, are persons or entities whose true names and

      23 identities are now unknown to Plaintiff, and who therefore are sued by such fictitious names under

      24   Code of Civil Procedure §474. Plaintiff will amend this complaint to allege their true names and

      25   capacities once ascertained. Plaintiff is informed and believes that each of the fictitiously-named

      26   Doe defendants, including any such defendants that may be the agents, representatives, or parents or

      27   subsidiary corporations of the named Defendants, is responsible in some manner for the occurrences,

      28   events, transactions, and injuries alleged herein and that the harm suffered by Plaintiff and Plaintiff


                                               CLASS ACTION COMPLAINT

                                                                                                     Ex. A - 6
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      Class were proximately caused by them in addition to Defendants.
  2          21.     Plaintiff is informed and believes and thereon alleges that each defendant, including

  3 the Doe defendants, acted in concert with each and every other defendant, intended to and did

  4   participate in the events, acts, practices and coursesofeonduct alleg&d herein, and was a proximate

  5   cause of damage and injury thereby to Plaintiff and Plaintiff Class as alleged herein.

  6          22.     At all times herein mentioned, each defendant was the agent or employee of each of

  7   the other Defendants and was acting within the course and scope of such agency or employment.

  8          23.      Plaintiff is informed and believes that Defendants are joint employers in that they are

  9   and were operating as ajoint enterprise and/or single enterprise of AIC located at 12570 Knott

 10   Street, Garden Grove, CA 92841, and as the employer of Plaintiff and Plaintiff Class.
 11          24.      Plaintiff is informed and believes, and based thereon alleges, that each defendant
 12   acted in all respects pertinent to this action as the agent of the other defendant, carried out a joint

 13   scheme, business plan or policy in all respects pertinent hereto, and the acts of each defendant are

 14 legally attributable to the other Defendants.
 15           25.     Plaintiff is informed and believes, and based thereon alleges, that Defendants are

 16 now, and/or at all times mentioned in this Complaint were the agents, servants, franchisers,

 17   franchisees, representatives, owners, partners, shareholders, and/or employees of some or all other
 18   Defendants, and vice-versa, and in doing the things alleged in this Complaint and that Defendants

 19 are now and/or at all times mentioned in this Complaint were acting within the course and scope of

 20 that agency, servitude, retention and/or employment.
 21           26.     On information and belief, Defendants are now, and/or at all times mentioned in this

 22   Complaint were the affiliates of some or all other Defendants, and vice-versa, and in doing the things

 23 alleged in this Complaint, Defendants were directly or indirectly controlling, controlled by or under

 24 common control with such other Defendants.
 25           27.     On information and belief, Defendants at all times mentioned in this Complaint
 26   approved of, condoned and/or otherwise ratified each and every one of the acts and/or omissions

 27 alleged in this Complaint.
 28           28.     Plaintiff is ignorant of the true names, capacities, relationships and extent of


                                           CLASS ACTION COMPLAINT

                                                                                                  Ex. A - 7
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      participation in the conduct herein alleged, of the Defendants sued herein as DOES 1 through 100,
      inclusive, but on information and belief allege that said Defendants are legally responsible for the
      payment of proper overtime wages, rest and meal period cOmpensation and/or Labor Code section
      203 penalties to the Plaintiff Class b viiii.iëöfhèir unlawful practices, and therefore sue these
      Defendants by such fictitious names. Plaintiff will amend this Complaint to allege the true names
      and capacities of the DOE Defendants when ascertained.
  7          29.     Plaintiff is informed and believes, and based thereon allege, that each Defendant
  8 acted in all respects pertinent to this action as the agent of the other Defendants, carried out a joint
  9 scheme, business plain or policy in all respects pertinent hereto, and the acts of each Defendant is
 10   legally attributable to the other Defendant.
 11                                   IV.     GENERAL ALLEGATIONS

 12          30.     Plaintiff and Plaintiff Class are employees or former employees of Defendants and
 13   have not been paid, during the relevant liability periods, the proper overtime wages for all hours
 14 actually worked. Plaintiff and Plaintiff Class were not paid meal period premiums for missed,
 15   interrupted or late meal periods. Plaintiff and Plaintiff Class were not paid rest break premiums for
 16 missed rest breaks.
 17          31.     Plaintiff and Plaintiff Class, at all times pertinent hereto, were not exempt from
 18 overtime wage requirements, meal and rest break requirements, or the implementing rules and
 19 regulations of the applicable INC California Wage Orders.
 20          32.     At the time Plaintiffs employment ended, and the employment of other former
 21   employees of Defendants ended, Defendants willfully failed to pay all the wages then owing,
 22 including overtime wages then owing and meal and rest break premiums.
 23          33.     Defendants have failed to comply with Labor Code §226(a) by not providing Plaintiff
 24 and Plaintiff Class with itemized wage statements accurately reporting all applicable hourly rates or
 25 the correct amount of regular, and/or overtime wages earned.
 26           34.    Plaintiff, for example, was employed by Defendants for about six years, purportedly
 27 earning $12.00 per hour. Plaintiff regularly worked 10.5 to 11 hours per day, Monday through
 28 Saturday. Additionally, Plaintiff received a quarterly non-discretionary, performance based bonus,

                                            CLASS ACTION COMPLAINT

                                                                                                Ex. A - 8
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      which averaged about $375.00, per quarter. However, the bonus payments were not included in the
  2   calculation of Plaintiff's overtime wages. Therefore, Plaintiff was routinely forced to work in excess

  3   of 8 hours each shift, but was not paid his proper overtime rate as required under California law. On

  4   information and belief, this:wasa1sa;true:for-thePlaintiff CIáss during the liability period.           - -

  5          35.      Because Defendants failed to calculate and pay proper overtime wages, neither the
  6   Plaintiff nor Plaintiff Class received accurate itemized wage statements showing the proper overtime

  7 hourly rates or the proper overtime wages due and owing employees.
  8          36.      Finally, again because Defendants failed to properly calculate overtime rates and pay

  9   proper overtime wages, Plaintiff and Plaintiff Class did not receive payment of all wages earned and
 10   unpaid immediately upon termination or resignation of their employment.
 11          37.      During the liability period, Defendants, and each of them enforced a company-wide
 12   policy under which Plaintiff and Plaintiff Class were required to leave and return from lunch, and be
 13   ready to begin work at their stations by a certain time, which cut into the employees' thirty-minute
 14   meal period. Under this policy, because Plaintiff and Plaintiff Class were required to be standing,
 15   ready to begin working by the end of the half-hour lunch period, Defendants failed to provide a full,
 16   uninterrupted thirty-minute meal period during which the employees were relieved of all work
 17   duties, as required under California law. Plaintiff and Plaintiff Class were consistently required to
 18   clock back in early from lunch, before the end of their thirty-minute meal periods. When Plaintiff
 19   and Plaintiff Class worked more than five hours in a day with Defendants, and were provided with a
 20   meal period, the meal periods were consistently provided later than the end of the employee's fifth
 21   hour of work.
 22          38.      Plaintiff and Plaintiff Class were also entitled to a second meal period on days they
 23   worked more than ten hours in a day, however, Defendants had a company-wide policy which failed

 24 to provide a second meal period on such days.
 25          39.      Additionally, Plaintiff and Plaintiff Class were consistently interrupted during the ten-

 26 minute rest breaks provided by Defendants.
 27          40.      Furthermore, Defendants failed and/or refused to pay Plaintiff Class one (1) hour's
 28   pay at the employees' regular rate of pay as premium compensation for failure to provide full rest


                                          CLASS ACTION COMPLAINT

                                                                                                Ex. A - 9
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       and/or meal periods or failure to provide such rest and/or meal periods within the statutory time
  2 frame, as a result of their company-wide improper meal period and rest break policies.

                                                                                          -
                      Further, Business and Professions Code section 17203 provides that any person who
  4 engages in unfair cornpetition:niaybeenjoined irranycourt of competent jurisdiction. Business and
       Professions Code section 17204 provides that any person who has suffered actual injury and has lost
  6 money or property as a result of the unfair competition may bring an action in a court of competent
   7 jurisdiction.
  8                                      V.      CLASS ALLEGATIONS
   9                  Plaintiff brings this action on behalf of himself and all other similarly situated
  10   persons, as a class action pursuant to California Civil Code of Procedure section 382. Plaintiff seeks
  II   to represent the class and sub-classes as follows:
  12                      Class:
                          All current and former California residents who work or worked for Defendants
  13                      as a non-exempt employee during the liability period, to be determined.
  14
                          Sub-Class 1: "Failure to Pay All Wages"
  15                      All current and former California residents who work or worked for Defendants
                          as a non-exempt employee, during the liability period, to be determined, and who
  16                      were not paid all wages due them, including but not limited to overtime and
                          double overtime wages, as a result of Defendants' illegal bonus policy;
  17
  18                      Sub-Class 2: "Failure to Provide Meal Periods"
                          All current and former California residents who work or worked for Defendants
  19                      as a non-exempt employee, during the liability period, to be determined, and who
                          were not provided legally complaint meal periods, or meal period premiums;
  20
                          Sub-Class 3: "Failure to Provide Rest Breaks"
  21                      All current and former California residents who work or worked for Defendants
                          as a non-exempt employee, during the liability period, to be determined, and who
  22
                          were not provided legally compliant rest periods, or rest period premiums;
  23
                          Sub-Class 4: "Waiting Time Class"
  24                      All current and former California residents who worked for Defendants as a non-
                          exempt employee, during the liability period, to be determined, who have been
  25                      terminated or resigned, and have not been paid wages pursuant to Labor Code
  26                      section 203 and are owed restitution for waiting time penalties deriving from
                          unpaid wages;
  27
                          Sub-Class 5: "Failure to Furnish Accurate Itemized Wage Statements"
  28                      All current and former California residents who work or worked for Defendants

                                           CLASS ACTION COMPLAINT

                                                                                                Ex. A - 10
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                           as a non-exempt employee, during the liability period, to be determined, and who
                           were not provided pay stubs that complied with Labor Code §226; and
  2

  3                    g. Sub-Class 6: "UCL Class"
                          All current and former California residents who work or worked for Defendants
  4                       as a non-exrnpLemp1oye.-during the liability period, to be detiiiiiiied, and who
                          suffered injury, including lost money, as a result of Defendants' unfair
  5                       competition, including but not limited to their policy of willfully failing to
                          provide proper meal and rest periods, failing to compensate for all wages earned,
  6                       including overtime and double overtime wages, and failing to provide properly
  7                       itemized wage statements.

  8                    Plaintiff reserves the right under Rule 3.765, California Rules of Court, to amend or

  9    modify the Class description with greater specificity or further division into subclasses or limitation

 10    to particular issues.
                       This action has been brought and may be maintained as a class action pursuant to

  12   Code of Civil Procedure §382 because there is a well-defined common interest of many persons and

  13   it is impractical to bring them all before the court.

  14       a) Numerosity: The potential members of the Class as defined are so numerous that joinder of

  15           all members of the Class is impracticable. While the precise number of members of the Class

  16           has not been determined at this time, Plaintiff is informed and believes that Defendants

  17           currently employ, and during the liability period employed, over 50 employees in the State of

  18           California. Accounting for employee turnover during the liability period necessarily

  19           increases this number substantially. Plaintiff alleges Defendants' employment records would

  20           provide information as to the number and location of all members of the Class. Joinder of all

  21           members of the Class is not practicable.

  22       b) Commonality: There are questions of law and fact common to all members of the Class and

  23           subclasses. These common questions include, but are not limited to:

  24               a. Did Defendants violate Labor Code § 1194 by not providing members of the Class the

  25                   proper overtime compensation applicable to such Class members?

  26               b. Did Defendants violate Labor Code §204 by not paying members of the Class for all

  27                   overtimc wages earned during each pay period?

  28               c. Did Defendants violate Labor Code §226(a) by not furnishing members of the Class


                                            CLASS ACTION COMPLAINT

                                                                                               Ex. A - 11
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                   with accurate wage statements?
  2            d. Did Defendants violate Labor Code §201 or 202 by not paying all overtime wages
  3                owed upon termination or resignation?
   4           e, Arc Defendants 1 iable to embers of the Class for penalty wages under Labor Code
   5               §203?
   6           f. Are Defendants liable to members of the Class for penalties under Labor Code
   7               §226(e)?
   8           g. Did Defendants violate the unfair competition law, Business & Professions Code
   9               § 17200 et seq., by their failure to properly compensate employees for overtime hours
  10               worked?
  11           h. Did Defendants violate the unfair competition law, Business & Professions Code
  12               § 17200 et seq., by their failure to provide proper meal periods and rest breaks and
  13               provide premium compensation?
  14           i. Are members of the Class entitled to attomeys' fees and costs?
  15           j. Are members of the Class entitled to interest?
  16    c) Typicality: The claims of Plaintiff herein alleged are typical of those claims which could be
  17       alleged by any member of the Plaintiff Class, and the relief sought is typical of the relief
  18       which would be sought by members of the Plaintiff Class in separate actions. Plaintiff and
  19       Plaintiff Class sustained injuries and damages arising out of and caused by Defendants'
  20       common course of conduct, in violation of laws and regulations that have the force and effect
  21       of law and statutes as alleged herein.
  22    d) Adequacy of Representation: Plaintiff will fairly and adequately represent and protect the
  23        interests of the members of the Class. Counsels who represent Plaintiff are competent and
  24        experienced in litigating class actions, including wage and hour class actions.
  25    e) Superiority of Class Action: A class action is superior to other available means for the fair
  26        and efficient adjudication of this controversy. Individual joinder of all members of the Class
  27        is not practicable, and questions of law and fact common to the Class predominate over any
  28        questions affecting only individual members of the Class. Each member of the Class has

                                       CLASS ACTION COMPLAINT

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             been damaged and is entitled to recovery by reason of Defendants' illegal policy and/or
  2          practice of failing to properly compensate members of the Class for wages.
  3      O Class action treatment will allow those similarly situated persons to litigate their claims in the
  4          manner that is most efficientand economical for the pai1is àiid the judicial system. Plaintiff
  5          is unaware of any difficulties that are likely to be encountered in the management of this
  6          action that would preclude its maintenance as a class action.
  7                                      VI. CAUSES OF ACTION
  8                                      FIRST CAUSE OF ACTION
  9                                   FAILURE TO PAY ALL WAGES
 10                               (On Behalf of Plaintiff and Plaintiff Class)
 11                                         (Against All Defendants)
 12          45.     Plaintiff, individually, and on behalf of Plaintiff Class, hereby reallege and
 13 incorporate by reference each and every one of the allegations contained in the preceding and
 14 foregoing paragraphs of this Complaint as if fully set forth herein.
 15          46.     Defendants have had a consistent policy and practice of failing to pay all wages due
 16   under its illegal bonus policies. At all relevant times herein, Defendants did not include bonus
 17 payments in the calculation of regular, overtime, and double overtime wages.
 18          47.     The bonus payments described herein were not discretionary "gifts" or "gratuities,"
 19 rather a sum required to be paid for services rendered by the members of the Failure to Pay All
 20   Wages Class. Therefore, these bonus payments are deemed "wages" under California law and Labor
 21 Code §200.
 22          48.     Defendants' pattern, practice and uniform administration of corporate policy
 23 regarding illegal employee compensation as described herein is unlawful and creates an entitlement,
 24   pursuant to Labor Code §218, to recovery by Plaintiff and the members of the Failure to Pay All
 25   Wages Class, in a civil action, of the unpaid balance of the full amount of wages owing, calculated at
 26 the appropriate rate.
 27          49.     Pursuant to Labor Code §218.6 and CCP §3287, the members of the Failure to Pay
 28 All Wages Class seek recovery of pre-judgment interest on all amounts recovered herein.

                                         CLASS ACTION COMPLAINT

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              50.     Pursuant to Labor Code §218.5, the members of the Failure to Pay All Wages Class

   2   request that the Court award reasonable attorneys' fees and costs incurred by them in this action.

   3                                     SECOND CAUSE OF ACTION

   4   FAILURE TO PROVIDE OFF-DUlY MEAL PERIODS OR COMPENSATION IN LIEU OF

   5                               (On Behalf of Plaintiff and Plaintiff Class)

   6                                         (Against All Defendants)

   7          51.     Plaintiff, individually, and on behalf of Plaintiff Class, hereby reallege and

   8   incorporate by reference each and every one of the allegations contained in the preceding and

   9   foregoing paragraphs of this Complaint as if fully set forth herein.

  10          52.     Labor Code §226.7(b) provides that, "[a]n employer shall not require an employee to

  11   work during a meal or rest or recovery period mandated pursuant to an applicable statute, or

  12   applicable regulation, standard, or order of the Industrial Welfare Commission, the Occupational
  13   Safety and Health Standards Board, or the Division of Occupational Safety and Health."
  14          53.     Labor Code §5 12 provides that, "[a]n employer may not employee an employee for a
  15   work period of more than five hours per day without providing the employee with a meal period of

  16   not less than 30 minutes, except that if the total work period per day of the employee is no more than

  17 six hours, the meal period may be waived by mutual consent of both the employer and employee.

  18   An employer may not employ an employee for a work period of more than 10 hours per day without

  19   providing the employee with a second meal period of not less than 30 minutes, except that if the total

  20   hours worked is no more than 12 hours, the second period may be waived by mutual consent of the

  21   employer and the employee only if the first meal period was not waived."
  22           54.    Labor Code §516 provides that the Industrial Welfare Commission "may adopt of

  23   amend working condition orders with respect to break period, meal periods, and days of rest for any

  24   workers in California consistent with the health and welfare of those workers."
  25           55.    Section 11(A) of the IWC Wage Order(s) provides that, "[u]nless the employee is

  26   relieved of all duty during a 30 minute meal period, the meal period shall be considered an 'on duty'

  27 meal period and counted as time worked. An 'on duty' meal period shall be permitted only when the

  28   nature of the work prevents an employee from being relieved of all duty and when by written


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       agreement between the parties an on-the-job paid meal period is agreed to. The written agreement
  2 shall state that the employee may, in writing, revoke the agreement at any time."
  3           56.     Section 11(B) of the IWC Wage Order(s) provides that, "[i]f an employer fails to
  4    provide an employee a meal:periodifl:aecdã           ith the applicable provisions of this order, the
   5   employer shall pay the employee one (1) hour of pay at the employee's regular rate of compensation
   6 for each workday and that the meal period is not provided."
   7          57.     On one or more occasions, Plaintiff and Plaintiff Class worked over five (5) hours per
   8 shift and therefore were entitled to a meal period of not less than thirty (30) minutes prior to
   9 exceeding five (5) hours of employment.
  10          58.     Further, on one more occasions, Plaintiff and Plaintiff Class worked over ten (10)
  11   hours per shift and therefore were entitled to a second meal period of not less than thirty (30)

  12 minutes.
  13          59.     Plaintiff and Plaintiff Class did not validly or legally waive their meal periods, by
  14 I mutual consent with Defendants or otherwise.
  15          60.     Plaintiff and Plaintiff Class did not enter into any written agreement with Defendants
  16 agreeing to an on-the-job paid meal period.
  17          61.     As a matter od Defendants' established company policy, Defendants failed to always
  18 comply with the meal period requirements established by Labor Code §226.7, 512 and 516, and
  19 Section 1 1 of the IWC Wage Order(s) by failing to always provide Plaintiff and Plaintiff Class with a
  20 first and in some cases a second legally compliant meal period.
  21          62.     Pursuant to Section 11(B) of the IWC Wage Order(s) and Labor Code §226.7(c)
  22 which states, "[i]f an employer fails to provide an employee a meal or rest or recovery period in
  23 accordance with a state law, including, but not limited to, an applicable statute or applicable
  24 regulation, standard, or order of the Industrial Welfare Commission, the Occupational Safety and
  25   Health Standards Board, or the Division of Occupational Safety and Health, the employer shall pay
  26 the employee one additional hour of pay at the employee's regular rate of compensation for each
  27 workday that the meal or rest or recovery period is not provided," Plaintiff and Plaintiff Class are
  28 entitled to damages in an amount equal to one (1) additional hour of pay at each employee's regular

                                           CLASS ACTION COMPLAINT

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   1       rate of compensation for each work day that the meal period was not provided, in a sum to be proven

  2        at trial.
  3                                             THIRD CAUSE OF ACTION

   4                   FAII.I.TRYL-TO-PR,O-N-qDE-RES-T—BR-E-A-K'-S-OR-COMPENSATt6NT
                                                                                  IN LIEU OF

   5                                     (On Behalf of Plaintiff and Plaintiff Class)

   6                                               (Against All Defendants)

   7                        Plaintiff, individually, and on behalf of the Plaintiff Class, hereby reallege and

   8       incorporate by reference each and every one of the allegations contained in the preceding and

   9       foregoing paragraphs of this Complaint as if fully set forth herein.

  10                        Labor Code §226.7 requires employers to authorize and permit all employees to take

  11       a paid ten (10) minute rest break for every four (4) work hours, or major fraction thereof.

  12                        Labor Code §226.7(b) provides that if an employer fails to provide an employee rest

  13       breaks in accordance with this section, the employer shall pay the employee one (1) hour of pay at

  14       the employee's regular rate of compensation for each workday that the rest break is not provided.

  15                        Defendants, and each of them, failed and or refused to implement a relief system by

  16       which Plaintiff and Plaintiff Class could receive rest breaks and/or work free rest breaks.

  17   I   Furthermore, due to Defendants' relief system, Plaintiff and Plaintiff Class did not receive their rest

  18       breaks within the required statutory time frame. By and through their actions, Defendants

  19       intentionally and improperly denied rest periods to the Plaintiff and Plaintiff Class in violation of

  20       Labor Code §§226.7 and 512.
  21                         At all times relevant hereto, Plaintiff and Plaintiff Class have worked more than four

  22 1(4) hours in a workday.

  23                         Pursuant to Section I I (B) of the IWC Wage Order(s) and Labor Code §226.7(c)

  24       which states, "[i]f an employer fails to provide an employee a meal or rest or recovery period in

  25       accordance with a state law, including, but not limited to, an applicable statute or applicable

  26       regulation, standard, or order of the Industrial Welfare Commission, the Occupational Safety and

  27       Health Standards Board, or the Division of Occupational Safety and Health, the employer shall pay

  28       the employee one additional hour of pay at the employee's regular rate of compensation for each


                                                 CLASS ACTION COMPLAINT

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       workday that the meal or rest or recovery period is not provided," Plaintiff and Plaintiff Class are

  2    entitled to damages in an amount equal to one (1) additional hour of pay at each employee's regular

  3    rate of compensation for each work day that the rest break was not provided, in a sum to be proven

  4 attal.
   5                                     FOURTH CAUSE OF ACTION

  6             FAILURE TO PROVIDE ACCURATE ITEMIZED WAGE STATEMENTS

   7                                (On Behalf of Plaintiff and Plaintiff Class)

  8                                           (Against All Defendants)

   9          69.     Plaintiff, individually, and on behalf of the Plaintiff Class, hereby reallege and

 10    incorporate by reference each and every one of the allegations contained in the preceding and

  11   foregoing paragraphs of this Complaint as if fully set forth herein.
 12           70.     Labor Code §226(a) states in pertinent part: "Every employer shall, semimonthly or

  13   at the time of each payment of wages, furnish each of his or her employees, either as a detachable

  14   part of the check, draft, or voucher paying the employee's wages, or separately when wages are paid

  is   by personal check or cash, an accurate itemized statement in writing showing (1) gross wages

  16   earned, (2) total hours worked by the employee.. .(4) all deductions ... (5) net wages earned ... and (9)

  17 all applicable hourly rates in effect during the pay period and the corresponding number of hours

  18 worked at each hourly rate by the employee..."
  19           71.    Further, the IWC Wage Order(s) §7(A) states in pertinent part: "(A) Every employer

  20   shall keep accurate information with respect to each employee including the following: ...(3) Time

  21   records showing when the employee begins and ends each work period. Meals periods, split shift

  22   intervals, and total daily hours worked shall also be records.. .(5) Total hours worked in the payroll
  23 Iperiod and applicable rate of pay..."

  24           72.    Therefore, pursuant to Labor Code §226(a) and the IWC Wage Order(s) §7(A),

  25 I California employers are required to maintain accurate records pertaining to the total hours worked

  26   for Defendants by Plaintiff and Plaintiff Class, including but not limited to, beginning and ending of

  27 each work period, meal period and split shift interval, the total daily hours worked, and the total

  28 I hours worked per pay period and applicable rates of pay.


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              73.     As a pattern and practice, in violation of Labor Code §226(a) and IWC Wage

   2   Order(s) §7A, Defendants did not and still do not furnish Plaintiff and Plaintiff Class with an

   3   accurate itemized statement in writing showing (1) gross wages earned, (2) total hours worked by the

   4 employee, (3) all deductions,. 4) net wages eamed and/or (5) all applicable hourly rates in effect

   5   during the pay period and the corresponding number of hours worked at each hourly rate by each

   6 respective forecaddie.

   7          74.     As a pattern and practice, in violation of Labor Code §226(a) and the IWC Wage

   8 Order(s) §7(A), Defendants did not and do not maintain accurate records pertaining to the total hours

   9   worked for Defendants by Plaintiff and Plaintiff Class, including but not limited to, beginning and

  10   ending of each work period, meal period and split shift interval, the total daily hours worked, and the

  11   total hours worked per pay period and applicable rates of pay.

  12          75.     As of January 1, 2013, SB 1255 amended Labor Code §226 to clarify that an

  13   employee suffers injury if the employer fails to provide accurate and complete information as

  14   required of any one or more items listed in Labor Code §226(a)(1)-(9) and the employee cannot

  15   promptly and easily ascertain requisite information within reference to other documents or

  16 information.

  17          76.     Here, Plaintiff and Plaintiff Class suffered injury because Defendants failed to

  18   provide accurate and complete information as required of one or more items listed in Labor Code

  19   §226(a)(1)-(9) and Plaintiff and Plaintiff Class could not and cannot promptly and easily ascertain

 20 requisite information without reference to other documents or information.

 21           77.     In addition, Plaintiff and Plaintiff Class have suffered injury as a result of

 22    Defendants' failure to maintain accurate records for Plaintiff and Plaintiff Class in that Plaintiff and

 23    Plaintiff Class were not timely provided written accurate itemized statements showing all requisite

 24    information, including but not limited to total hours worked by the employee, net wages earned and

 25    all applicable hourly rates in effect during the pay period and the corresponding number of hours

 26    worked at each hourly rate, in violation of Labor Code §226 and the IWC Wage Order(s) §7(A),

 27    such that Plaintiff and Plaintiff Class were misled by Defendants as to the correct information

 28    regarding various items, including but not limited to total hours worked by the employee, net wages


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       earned and all applicable hourly rates in effect during the pay period and the corresponding number
   2 of hours worked at each hourly rate.
   3          78.     Pursuant to Labor Code §226(e), Plaintiff and Plaintiff Class are entitled to fifty
   4 dollars ($50) per employee- for -the initial payperiod in which aviôlation hereunder occurs and one
   5   hundred dollars ($100) per employee for each violation in a subsequent pay period, not exceeding an
   6 aggregate penalty of four thousand dollars ($4,000).
   7          79.     Pursuant to Labor Code §226(g), the currently-employed Plaintiff and Plaintiff Class
   8 are entitled to injunctive relief to ensure Defendants' compliance with Labor Code §226.
   9          80.     Pursuant to Labor Code §226(e) and/or §226(g), Plaintiff and Plaintiff Class are also
  10 entitled to an award of costs and reasonable attorneys' fees.
  II                                      FIFTH CAUSE OF ACTION
  12                                     WAITING TIME PENALTIES
  13                               (On Behalf of Plaintiff and Plaintiff Class)
  14                                         (Against All Defendants)
  15          81.     Plaintiff, individually, and on behalf of the Plaintiff Class, hereby reallege and
  16   incorporate by reference each and every one of the allegations contained in the preceding and
  17 foregoing paragraphs of this Complaint as if fully set forth herein.
  18          82.     Labor Code §20I and 202 require Defendants to pay their employees all wages due
  19 immediately at the time of discharge, layoff, or resignation made with at least 72 hours of notice, or
  20 within 72 hours of resignation made within 72 hours of notice.
  21          83.     Labor Code §203 provides that if an employer willfully fails to pay compensation
  22 promptly upon separation, as required by §201 or 202, then the employer is liable for waiting time
  23 penalties in the form of one day of wages for up to 30 days.
  24          84.     Plaintiff and Plaintiff Class are informed, believe, and allege thereon that Defendants
  25 have failed to pay all earned wages to Plaintiff and Plaintiff Class during their employment with
  26 Defendants. In addition, Plaintiff and Plaintiff Class have been discharged, laid off, resigned, retired
  27 or otherwise separated from employment, but Defendants have not unconditionally paid earned
  28

                                          CLASS ACTION COMPLAINT

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      wages upon separation of employment within the time frame mandated by Labor Code §201 and

  2 202. Defendants' conduct in this regard has been willful.

  3          85.      As a consequence of Defendants' willful failure to pay wages due to each such

  4 employee following separation fro:eiñp1btitas required by Labor Code §201 and 202,

  5   Plaintiff and Plaintiff Class whose employment ended prior to the filing of this case and continuing

  6   through the date of class certification are entitled to recover from Defendants an additional sum as

  7   penalty, pursuant to Labor Code §203, equal to a day's wages, for thirty (30) days, plus interest, for

  8   each employee who separated from employment Defendants, in amounts according to proof at trial.

  9                                       SIXTH CAUSE OF ACTION
 10                        VIOLATIONS OF THE UNFAIR COMPETITION LAW
 11                                 (On Behalf of Plaintiff and Plaintiff Class)
 12                                          (Against All Defendants)
 13          86.      Plaintiff, individually, and on behalf of the Plaintiff Class, hereby reallege and

 14   incorporate by reference each and every one of the allegations contained in the preceding and
 15   foregoing paragraphs of this Complaint as if fully set forth herein.
 16          87.      Business & Professions Code § 17200 prohibits unfair competition in the form of any

 17   unlawful, unfair, or fraudulent business act or practice.
 18          88.      Business & Professions Code § 17204 allows "any person acting for the interests of

 19   itself, its members or the general public" to prosecute a civil action for violation of the UCL.

 20          89.      Within the liability period, Defendants have improperly, fraudulently, and unlawfully
 21   excluded the payment of bonus payments in its calculation of overtime wages and have thereby

 22 committed unlawful, unfair and/or fraudulent business acts and practices and defined by Business &

 23   Professions Code § 17200, by engaging in the following conduct:
 24                a. Failing to pay Plaintiff and Plaintiff Class proper overtime compensation for all hours

 25                   worked over eight (8) in a day or forty (40) in a workweek, as required by Labor
 26                   Code §510, 1194 et seq. and IWC Wage Order(s);
 27                b. Failing and refusing to provide meal periods to Plaintiff and Plaintiff Class, as
 28                   required by Labor Code §226.7 and IWC Wage Order(s);


                                          CLASS ACTION COMPLAINT

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                     c. Failing and refusing to provide rest breaks to Plaintiff and Plaintiff Class, as required

  2                     by Labor Code §226.7 and IWC Wage Order(s);

  3                  d. Failing to provide accurate itemized wage statements to Plaintiff and the Plaintjff -

  4                     CIss, as requiditãlCode226;

  5                  e. Failing to maintain payroll records showing the actual hours worked each day by

  6                      Plaintiff and Plaintiff Class, as required by Labor Code §1174 et seq. and IWC Wage

  7                     Order(s);

  8                  f. Failing to pay, upon termination of employment all wages due to Plaintiff and

  9                      Plaintiff Class, as required by Labor Code §201, 202, and 203; and

 10           90.        The violations of these laws serve as unlawful, unfair, and/or fraudulent predicate acts

 11    and practices for purposes of Business and Professions Code § 17200.

 12           91.        As a result of the aforementioned actions, Plaintiff and Plaintiff Class have lost and

 13    continue to lose money or property and suffered and continue to suffer injury in fact. Defendants

 14    continue to hold unpaid wages and other funds legally belonging to Plaintiff and Plaintiff Class.

 15           92.        Plaintiff and Plaintiff Class are entitled to restitution pursuant to Business &

  16 Professions Code §17203 and 17208 for all unpaid wages, overtime pay, missed meal period

  I7   compensation, and interest since at least four years prior to the filing of this Complaint.

  18          93.        Pursuant to Business & Professions Code § 17203, Plaintiff and Plaintiff Class are

  19   entitled to: (a) restitution of money acquired by Defendants by means of their unfair business

 20    practices, in amounts not yet ascertained by to be ascertained at trial; (b) a declaration that

 21    Defendants' business practices are unfair within the meaning of the statute, (c) a permanent

  22   injunction to prohibit Defendants from classifying Plaintiff and Plaintiff Class as independent

  23 contractors.

  24          94.        Plaintiff and Plaintiff Class are entitled to enforce all applicable penalty provisions of

  25   the Labor Code pursuant to Business & Professions Code § 17202.

  26           95.       By all of the foregoing alleged conduct, Defendants have committed, and are

  27 I continuing to commit, ongoing unlawful, unfair and fraudulent business practices within the

  28 I meaning of Business & Professions Code § 17200 et seq.


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              96.     Plaintiff have assumed the responsibility of enforcement of the laws and lawful
  2 claims specified herein. There is a financial burden incurred in pursuing this action which is in the
  3    public interest. Therefore, reasonable attorneys' fees are appropriate pursuant to Cal. Code of Civil
  4 Procedure §102.1.5.
   5                                      VII. PRAYER FOR RELIEF
   6          WHEREFORE, Plaintiff, on behalf of himself and the above-described Plaintiff Class, pray
   7 for relief as follows, jointly and severally from all Defendants:
   8          A.      That the Court determine that this action may be maintained as a class action under
   9 Code of Civil Procedure §382, and define the class as requested herein;
  10          B.      Provision of class notice to all members of Plaintiff Class;
  11          C.      A declaratory judgment that Defendants' violations described above were willful;
  12          D.      An equitable accounting to identify, locate, and restore to Plaintiff and Plaintiff Class,

  13 the wages due;
  14          E.      For an Order requiring Defendants to identify each of the member of Plaintiff Class
  15   by name, home address, home telephone number and, if available, email address;
  16          F.      For an Order requiring Defendants to make full restitution and payment pursuant to

  17 California law;
  18          G.      A permanent injunction to prohibit Defendants from classifying Plaintiff and Plaintiff
  19 Class as independent contractors;
  20           H.      For all other appropriate injunctive, declaratory and equitable relief
  21           I.      An award to Plaintiff and Plaintiff Class in the amount of unpaid wages, including but
  22   not limited to proper overtime compensation, meal period and rest break premiums, including
  23 interest thereon, subject to proof at trial;
  24           J.      An award of reasonable attorneys' fees and costs, pursuant to Labor Code §226,
  25 218.5 and 1194, Code of Civil Procedure §1021.5 and/or other applicable law; and
  26           K.      An award to Plaintiff and Plaintiff Class of such other and further relief as this Court
  27 deems just and proper.
  28   I/I


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                                                                                                Ex. A - 22
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              Plaintiff herc
  3    Dated: June 20, 201
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                                                                    Ex. A - 23
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                                                                                                                                                                        CM-01O
ATTORNEY OR PARTY '.MTHOUT ATTORNEY (Name, Slate Barnumb& and address):                                                                FOR COURT USE ONLY
  Yoouis I-Ian. SBN: 256151; Sam Kim. SBN: 25g467
  Vcruin Law Group, APC
   41 Apollo St, Ste 340, El Segundo, CA 90245                                                                           ELECTROUIALLY FILED
                                                                                                                            Superior Court of California,
        TELEPHONENO..        424-320-2000                               FAX       424-221-5010                                  County of Orange
 ATTORNEY FOR (Name):        yl1anvetUm1g.com
                                                                                                                            06/2012016 at 04:49:05 PM
SUPERIORCOURTOFCALIFORNIA,COUNTYOF             Orange
      STREETADDRESS.         751 W. Santa Ana 'Blvd                                                                       Clerk of the Superior Court
     MAILING ADDRESS'
                                                                                                                      By Georgina Ramirez Deputy Clerk
    C1TTANDZIPCODE:          Santa Ana, 92701
          ERAi4CHIJAME'      Civil Complex Center
 CASE NAME'
 Wilcox v. SPS Technologies, LLC
     CIVIL CASE COVER SHEET                                     I             Complex Case Designation
                                                                                                                       30-201 6-0085Q043- CU- 0 B CXC
        Unlimited                   LIII   Limited
                                                                               Counter              Joinder
        (Amount                            (Amount                                                                    JUDGE:            Judge Kim 0. Dunning
        demanded                           demanded is     I          Filed with first appearance by defendant
        exceeds $25,000)                   $25,000 or less)I              (Cal. Rules of Court, rule 3.402)            DEPI:
                                                                                                                                  cx-104
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   Check one box below for the case type that best describes this case:
   Auto Tort                                   Contract                                                       Provisionally Complex Civil Litigation
   LII  Auto (22)                                                   LIII
                                                     Breach of contract/warranty (06)                         (Cal. Rules of Court, rules 3.400-3.403)

   Elli Uninsured motorist (46)                      Rule 3.740 collections (09)                              Li Antitrust/Trade regulation (03)
   Other PIIPDIWD (Personal Injury/Property                               Other collections (09)              Li Construction defect (10)
   Damage/Wrongful Death) Tort                                            Insurance coverage (18)             Li Mass tort (40)
   Li    Asbestos (04)                                              Li    Other contract (37)                 Li Securities litigation (28)
         Product liability (24)                                     Real Property                             LIII Environmental/Toxic tort (30)
   Li    Medical malpractice (45)                                   111111Eminent domain/Inverse              Li Insurance  coverage claims arising from the
                                                                                                                 above listed provisionally complex case
   LIII  Other Pl/PDIWD (23)                                              condemnation (14)
                                                                                                                     types (41)
   Non-PIIPD/WD (Other) Tort                                              Wrongful eviction (33)
            0.            *,Srf1.         hcin
                                           ,,        nr,rtio (071 Li Other real property (26)                 Enforcement of Judgment

                                    ' '                             Unlawful Detalner                         Li    Enforcement of judgment (20)

   [1111   Defamation (13)                                          Li Commercial (31)                         Miscellaneous Civil Complaint
           Fraud (16)                                               LIII      Residential (32)                Li RICO(27)
   LIlli Intellectual property (19)                      Drugs (38)                                           Li Other complaint (not specified above) (42)
   Eli     Professional negligence (25)           judicial Review                            Miscellaneous Civil Petition
           Other non-Pl/PDIWD tort (35)                             Li
                                                         Asset forfeiture (05)                                LIII
                                                                                                  Partnership and corporate governance (21)
   Employment                                                       LII
                                                         Petition re: arbitration award (11)
                                                                                                              Li
                                                                                                  Other petition (not specified above) (43)
           Wrongful termination (36)                                Li
                                                         Writ of mandate (02)
   L_i Other emptoyni                                               El
                                                         Other iudicial review (39)
2. This case          RI is      is not     complex under rule 3.400 of the California Rules of Court. If the case is complex, mark the
    factors requiring exceptional judicial management:
      L      Large number of separately represented parties           d. RI Large number of witnesses
       LIII Extensive motion practice raising difficult or novel                          e. LIII Coordination with related actions pending in one or more courts
              issues that will be time-consuming to resolve                                        in other counties, states, or countries or in a federal court
    C.  RI    Substantial amount of documentary evidence                                  f.Li     Substantial postjudgment judicial supervision

3. Remedies sought (check all that apply): a.Ll monetary b.RIJ nonmonetary; declaratory or injunctive relief                                                c. LIIi punitive
4. Number of causes of action (specify): 6
5. This case         isRI                 Li
                                is not a class action suit.
6. If there are any known related cases, file and serve a notice of related case. (You may use form
Date: 6/20/2016
Sam Kim



    Plaintiff must file this cover sheet with the first paper filed in the action or proceeding (except small claims cases or cases filed
    under the Probate Code, Family Code, or Welfare and Institutions Code). (Cal. Rules of Court, rule 3.220.) Failure to file may result
    in sanctions.
    File this cover sheet in addition to any cover sheet required by local court rule.
    If this case is complex under rule 3.400 et seq. of the California Rules of Court, you must serve a copy of this cover sheet on all
    other parties to the action or proceeding.
    Unless this is a collections case under rule 3.740 or a complex case, this cover sheet will be used for statistical purposes only. I of 2
                                                                                                                                                                         Pane

lo,m AdoRed tot Mandatory Use                                                                                            Cal. Rules of court. rules 2.30.3,220,3.400-3,403.3.740;
  Judicial Council of CaliIom,a
                                                                     CIVIL CASE COVER SHEET                                       Cal. Standards of Judicial Administration, aid. 3.10
                                                                                                                                                               iww.eournnto.cagov
  CM-OlE IRev. July 1,20071


                                                                                                                                                         Ex. A - 24
     Case 8:16-cv-01528-AB-JC Document 1-4 Filed 08/18/16 Page 25 of 35 Page ID #:54
                                                                                                                                       CM-01O
                                  INSTRUCTIONS ON HOW TO COMPLETE THE COVER SHEET
To Plaintiffs and Others Filing First Papers. If you are filing a first paper (for example, a complaint) in a civil case, you must
complete and file, along with your first paper, the Civil Case Cover Sheet contained on page 1. This information will be used to compile
statistics about the types and numbers of cases filed. You must complete Items 1 through 6 on the sheet. In item 1, you must check
one box for the case type that best describes the case. If the case fits both a general and a more specific type of case listed in item 1,
check the more specific one. If the case has multiple causes of action, check the box that best indicates the primary cause of action.
To assist you in completing the sheet, examples of the cases that belong under each case type in item I are provided below. A cover
sheet must be filed only with your initial paper. Failure to file a cover sheet with the first paper filed in a civil case may subject a party,
its counsel, or both to sanctions under rules 2.30 and 3.220 of the California Rules of Court.
To Parties in Rule 3.740 Collections Cases. A "collections case" under rule 3.740 is defined as an action for recovery of money
owed in a sum stated to be certain that is not more than $25,000, exdusive of interest and attorney's fees, arising from a transaction in
which property, services, or money was acquired on credit. A collections case does not include an action seeking the following: (1) tort
damages, (2) punitive damages. (3) recovery of real property, (4) recovery of personal property, or (5) a prejudgment writ of
attachment. The identification of a case as a rule 3.740 collections case on this form means that it will be exempt from the general
time-for-service requirements and case management rules, unless a defendant files a responsive pleading. A rule 3.740 collections
case will be subject to the requirements for service and obtaining a judgment in rule 3.740.
To Parties in Complex Cases. In complex cases only, parties must also use the Civil Case Cover Sheet to designate whether the
case is complex. if a plaintiff believes the case is complex under rule 3.400 of the California Rules of Court, this must be Indicated by
completing the appropriate boxes in items I and 2. If a plaintiff designates a case as complex, the cover sheet must be served with the
complaint on all parties to the action. A defendant may file and serve no later than the time of its first appearance a joinder in the
plaintiff's designation, a counter-designation that the case is not complex, or, if the plaintiff has made no designation, a designation that
the case is complex.                                       CASE TYPES AND EXAMPLES
                                                 Contract                                           Provisionally Complex Civil Litigation (Cal.
Auto Tort                                                                                           Rules of Court Rules 3.400-3.403)
     Auto (22)-Personal Injury/Property              Breach of Contract/Warranty (06)
                                                          Breach  of Rental/Lease                         Antitrust/Trade Regulation (03)
          DamageiWrongful Death                                                                           Construction Defect (10)
                                                              Contract   (not unlawful detalner
     Uninsured Motorist (46) (if the                                                                      Claims lnvoMng Mass Tort (40)
          case Involves an uninsured                              or wrongful eviction)
                                                          ContracthNarranty Breach-Seller                 Securities Litigation (28)
          motorist claim subject to                                                                       Environmental(Toxic Tort (30)
          arbitration, check this item                        Plaintiff (not fraud or negligence)
                                                          Negligent Breach of Contract/                   Insurance Coverage Claims
          instead of Auto)                                                                                    (arising from provisionally complex
                                 Injury!                      Warranty
Other PI/PDIWD (Personal                                  Other Breach of Contract/Warranty                   case type fisted above) (41)
Property DamagelWrongful Death)                                                                       Enforcement of Judgment
 Tort                                                Collections  (e.g.. money   owed,  open
                                                          book accoUnts) (09)                             Enforcement of Judgment (20)
      Asbestos (04)                                                                                           Abstract of Judgment (Out of
          Asbestos Property Damage                        Collection  Case-Seller   Plaintiff
                                                          Other  Promissory    Note/Collections                     County)
          Asbestos Personal lnjury/                                                                            Confession of Judgment (non-
                                                               Case
                Wrongful Death                       Insurance Coverage (not provisionally                          domestic relations)
      Product Liability (not asbestos or                  complex) (18)                                        Sister State Judgment
          toxic/environmental)     (24)                   Auto Subrogation                                     Administrative Agency Award
      Medical Malpractice (45)                                                                                    (not unpaid taxes)
          Medical Malpractice-                            Other  Coverage
                                                                                                               Petition/Certification of Entry of
                Physicians & Surgeons                Other   Contract  (37)                                        Judgment on UnpaId Taxes
           Other Professional Health Care                 Contractual Fraud                                    Other Enforcement of Judgment
                 Malpractice                              Other Contract Dispute                                    Case
      Other Pl/PD/IND (23)                        Real Property                                       Miscellaneous Civil Complaint
           Premises Liability (e.g., slip            Eminent   DomaIn/Inverse
                                                          Condemnation (14)                               RICO (27)
                 and fall)                                                                                Other Complaint (not specified
           Intentional Bodily lnjury/PD/WD           Wrongful EvIction (33)                                    above) (42)
                 (e.g., assault, vandalism)          Other Real Property (e.g., quiet title) (26)              Declaratory Relief Only
           Intentional Infliction of                      Writ of Possession of Real Property                  Injunctive Relief Only (non-
                 Emotional Distress                       Mortgage Foreclosure                                       harassment)
           Negligent Infliction of                        Quiet Title                                          MechanIcs Uen
                 Emotional Distress                       Other Real Property (not eminent                     Other Commercial Complaint
           Other PI/PD/WD                                 domain, landlord)tenant, or                                Case (non-tort/non-complex)
 Non-PIIPD/WD (Other) Tort                                foreclosure)                                         Other Civil Complaint
      Business Tort/Unfair Business               Unlawful Detalner                                                 (non-tort/non-complex)
          Practice (07)                               Commercial (31)                                 Miscellaneous Civil Petition
      Civil Rights (e.g., discrimination,             Residential (32)                                     partnership and Corporate
          faise arrest) (not civil                    Drugs (38) (if the case involves illegal                  Governance (21)
           harassment) (08)                               drugs, check this item; othe,wise,               Other Petition (not specified
      Defamation (e.g., slander, libel)                   report as Commercial or Residential)                 above) (43)
            (13)                                  Judicial Review                                               Civil Harassment
      Fraud (16)                                      Asset Forfeiture (05)                                    Workplace Violence
      Intellectual Property (19)                      Petition Re: Arbitration Award (11)                      Elder/Dependent Adult
      Professional Negligence (25)                    Writ of Mandate (02)                                           Abuse
          Legal Malpractice                                Writ-Administrative Mandamus                         EIeon Contest
          Other Professional Malpractice                   Writ-Mandamus on Limited Court                       Petition for Name Change
               (not medical or legal)                         Case Matter                                       Petition for Relief From Late
       Other Non-PIIPDIWD Tort (35)                        Writ-Other Limited CowL Case                              Claim
  Employment                                                  Review                                            Other Civil Petition
       Wrongful Termination (36)                      Other Judicial Review (39)
      Other Employment (15)                                Review of Health Officer Order
                                                           Notice of Appeal-Iabor
                                                              Commissioner Appeals
                                                                                                                                         Page2of2
 CM.0I0IRev.JWyI,20011                                CML CASE COVER SHEET


                                                                                                                            Ex. A - 25
Case 8:16-cv-01528-AB-JC Document 1-4 Filed 08/18/16 Page 26 of 35 Page ID #:55




  1    Yoonis Han [SBN 256151]
       Sam Kim [SBN 258467]
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       Fax: (424) 221-5010
  5    yhanverum1g.com
       skimverum1g.com
  6
       Attorneys for Plaintiff ALBERT WILCOX, and
       all others similarly situated

                         SUPERIOR COURT OF THE STATE OF CALIFORNIA
                    FOR THE COUNTY OF ORANGE - CIVIL COMPLEX CENTER
 10
 11 ALBERT WILCOX, on behalf of himself and all CASE NO. 30-201 6-00859043-CU-OE-CXC
                                                 Complex Civil
 12 others similarly situated,
 13                  Plaintiffs,                    [Hon. Kim G. Dunning, Dept. CXI 04]
              vs.
  14                                                NOTICE OF STATUS CONFERENCE
     SPS TECHNOLOGIES, LLC, a Pennsylvania
  15                                                Date: September 21, 2016
     limited liability company dba AIR INDUSTRIES
     COMPANY;       and, DOES I through 100,        Time: 10:00 a.m.
  16
     inclusive,                                     Dept.: CX 104
  17
                      Defendants.
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                                      NOTICE OF STATUS CONFERENCE
                                                                                 Ex. A - 26
Case 8:16-cv-01528-AB-JC Document 1-4 Filed 08/18/16 Page 27 of 35 Page ID #:56




  I TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:

  2           PLEASE TAKE NOTICE that pursuant to the attached Minute Order, dated July 15. 2016,

  3    a status conference has been scheduled for September 21, 2016, at 10:00 a.min Department

  4    CXIOLI oFthp abovocntilkii Lourt Plaintiff'to give notice to all parties

  5 i)ated: July 19, 2016                           VERUM LAW GROUP, APC


                                                    By:

                                                            Sam Kim
  8                                                 Attorneys for Plaintiff Albert Wilcox, and all others
  9                                                 similarly situated

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                                      NOTICE OF STATUS CONFERENCE

                                                                                             Ex. A - 27
     Case 8:16-cv-01528-AB-JC Document 1-4 Filed 08/18/16 Page 28 of 35 Page ID #:57

                                          èö•tit •Fi•dF ORANGE
                                        CIVIL COMPLEX CENTER
                                             MINUTE ORDER
DATE: 07/15/2016                    TIME: 08:45:00 AM                     DEPT: CXI04
JUDICIAL OFFICER PRESIDING: Kim G. Dunning
CLERK: Antero Pagunsan
REPORTER/ERM: None
BAI LI FE/COURT ATTENDANT: Nestor Peraza - -

CASE NO: 30-2016-00859043-CU-OE-CXC CASE INIT.DATE: 06/20/2016
CASE TITLE: Wilcox vs. SPS Technologies, LLC
CASE CATEGORY: Civil - Unlimited   CASE TYPE: Other employment

EVENT ID/DOCUMENT ID: 72410092
EVENT TYPE: Chambers Work



APPEARANCES

There are no appearances by any party.
The Court finds that this case is exempt from the case disposition time goals imposed by California Rule
of Court, rule 3.714 due to exceptional circumstances and estimates that the maximum time required to
dispose of this case will exceed twenty-four months due to the following case evaluation factors of
California Rules of Court, rules 3.715 and 3.400: Case is Complex.
Each party who has not paid the Complex fee of $ 1000.00 as required by Government Code section
70616 shall pay the fee to the Clerk of the Court within ten (10) court days from date of this minute
order. Failure to pay required fees may result in the dismissal of complai nt/cross-com plaint or the
striking of responsive pleadings and entry of default.
The Status Conference is scheduled for 09/21/2016 at 10:00 AM in Department CXIO4.
Plaintiff shall, at least five (5) court days before the hearing, file with the Court and serve on all parties of
record or known to Plaintiff a brief, objective summary of the case, its procedural status, the contentions
of the parties and any special considerations of which the Court should be aware. Other parties who
think it necessary may also submit similar summaries three court days prior to the hearing. DO NOT use
the CMC (Case management Statement) form used for non-complex cases (Judicial Council Form
CM-hO).
This case is subject to mandatory electronic filing pursuant to Superior Court Rules, County of Orange,
Rule 352. Plaintiff shall give notice of the Status Conference and the electronic filing requirement to all
parties of record or known to plaintiff, and shall attach a copy of this minute order.




DATE: 07/15/2016                                   MINUTE ORDER                                       Page 1
DEPT: CX104                                                                                        CIndr No


                                                                                               Ex. A - 28
      Case 8:16-cv-01528-AB-JC Document 1-4 Filed 08/18/16 Page 29 of 35 Page ID #:58
                    ..flS   • Se.   S   55 SeISe SSeSe   ..%              S




Clerk to give notice to Plaintiff and Plaintiff to give notice to all other parties.




DATE: 07/15/2016                                          MINUTE ORDER                         Page 2
DEPT: CX 104                                                                              ('.Indr Nn


                                                                                       Ex. A - 29
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SUPERIOR COURT OF CALIFORNIA, COUNTY OF ORANGE
Civil Complex Center
751 W. Santa Ana Blvd
Santa Ana, CA 92701
SHORT TITLE: Wilcox vs. SPS Technologies, LLC



    CLERK'S CERTIFICATE OF MAILING/ELECTROC — CASEjJMBR:
                                   SERVICE                                           130-2016-00859043-CU-OFCXC


  I certify that I am not a party to this cause. I certify that the following document(s), Minute Order dated 07/15/16, have
  been transmitted electronically by Orange County Superior Court at Santa Ana, CA. The transmission originated from
  email address on July 15, 2016, at 8:5 1:34 AM PDT. The electronically transmitted document(s) is in accordance with rule
 2.251 of the California Rules of Court, addressed as shown above. The list of electronically served recipients are listed
 below:


 VERUM LAW GROUP, APC
 SKIM@VERUMLG.COM




                                                            Clerk of the Court, by:
                                                                                                                      , Deputy




                    CLERK'S CERTIFICATE OF MAILING/ELECTRONIC SERVICE




                                                                                                                    Ex. A - 30
Case 8:16-cv-01528-AB-JC Document 1-4 Filed 08/18/16 Page 31 of 35 Page ID #:60




  1    Yoonis Han [SBN 256151]
       Sam Kim [SBN 258467]
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       El Segundo, California 90245
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       Fax: (424) 221-5010
  5    yhanverum1g.com
       skimverumIg.com
  6
    Attorneys for Plaintiff ALBERT WILCOX, and
  7 all others similarly situated
  8
                         SUPERIOR COURT OF THE STATE OF CALIFORNIA
  9
                    FOR THE COUNTY OF ORANGE - CIVIL COMPLEX CENTER
 10
 11 ALBERT WILCOX, on behalf of himself and all CASE NO. 30-20 1 6-00859043-CU-OE-CXC
                                                 Complex Civil
 12 others similarly situated,
 13                  Plaintiffs,                    [Hon. Kim G. Dunning, Dept. CX 104]
              vs.
 14                                                 NOTICE OF STATUS CONFERENCE
    SPS TECHNOLOGIES, LLC, a Pennsylvania
 15                                                 Date: September 21, 2016
    limited liability company dba AIR INDUSTRIES
    COMPANY;       and, DOES 1 through 100,         Time: 10:00 a.m.
 16
    inclusive,                                      Dept.: CX 104
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                     Defendants.
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                                      NOTICE OF STATUS CONFERENCE
                                                                                 Ex. A - 31
Case 8:16-cv-01528-AB-JC Document 1-4 Filed 08/18/16 Page 32 of 35 Page ID #:61




       TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:

              PLEASE TAKE NOTICE that pursuant to the attached Minute Order, dated July 15, 2016,

       a status conference has been scheduled for September 21, 2016, at 10:00 a.m, in flpaiThiUnt

       CX 104 nf the above eiitiEld court. Plaintiff to give notice to all parties.

       Dated: July 19, 2016                           VERUM LAW GROUP, APC


                                                      By:
  7
                                                              Sam Kim
  8                                                   Attorneys for Plaintiff Albert Wilcox, and all others
  9                                                   similarly situated

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                                        NOTICE OF STATUS CONFERENCE
                                                                                               Ex. A - 32
     Case 8:16-cv-01528-AB-JC Document 1-4 Filed 08/18/16 Page 33 of 35 Page ID #:62

                                             üñ'F ärii
                                         CIVIL COMPLEX CENTER
                                              MINUTE ORDER
DATE: 07/15/2016                    TIME: 08:45:00 AM                     DEPT: CXI04
JUDICIAL OFFICER PRESIDING: Kim G. Dunning
CLERK: Antero Pagunsan
REPORTER/ERM: None
BAI LIFE/COURT ATTENDANT: Nestor Peraza

CASE NO: 30-2016-00859043-CU-OE-CXC CASE INIT.DATE: 06/20/2016
CASE TITLE: Wilcox vs. SPS Technologies, LLC
CASE CATEGORY: Civil - Unlimited   CASE TYPE: Other employment

EVENT ID/DOCUMENT ID: 72410092
EVENT TYPE: Chambers Work



APPEARANCES

There are no appearances by any party.
The Court finds that this case is exempt from the case disposition time goals imposed by California Rule
of Court, rule 3.714 due to exceptional circumstances and estimates that the maximum time required to
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Each party who has not paid the Complex fee of $ 1000.00 as required by Government Code section
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Plaintiff shall, at least five (5) court days before the hearing, file with the Court and serve on all parties of
record or known to Plaintiff a brief, objective summary of the case, its procedural status, the contentions
of the parties and any special considerations of which the Court should be aware. Other parties who
think it necessary may also submit similar summaries three court days prior to the hearing. DO NOT use
the CMC (Case management Statement) form used for non-complex cases (Judicial Council Form
CM-I 10).
This case is subject to mandatory electronic filing pursuant to Superior Court Rules, County of Orange,
Rule 352. Plaintiff shall give notice of the Status Conference and the electronic filing requirement to all
parties of record or known to plaintiff, and shall attach a copy of this minute order.




DATE: 07/15/2016                                   MINUTE ORDER                                        Page 1
DEPT: CXI04                                                                                        (lndar Nn


                                                                                               Ex. A - 33
        Case 8:16-cv-01528-AB-JC Document 1-4 Filed 08/18/16 Page 34 of 35 Page ID #:63
  . t             •   SS     #     • %• IS .%e.%#SSSe,St%             S   5                  —




Clerk to give notice to Plaintiff and Plaintiff to give notice to all other parties.




DATE: 07/15/2016                                        MINUTE ORDER                          Page 2
DEPT: CXI04                                                                               (Indr Nn


                                                                                       Ex. A - 34
Case 8:16-cv-01528-AB-JC Document 1-4 Filed 08/18/16 Page 35 of 35 Page ID #:64


SUPERIOR COURT OF CALIFORNIA, COUNTY OF ORANGE
Civil Complex Center
751 W. Santa Ana Blvd
Santa Ana, CA 92701
SHORT TLTLE: Wilcox vs. SPS Technologies, LLC



    CLERK'S CERTIFICATE OF MAJLINGIELECTRON1C                                       I CASE NUMBER:
                     SERVICE                                                         30-2016-00859043-CU..Og..cxc

  I certifi that I am not a party to this cause. I certil' that the following document(s), Minute Order dated 07/15/16, have
  been transmitted electronically by Orange County Superior Court at Santa Ana, CA. The transmission originated from
  email address on July 15, 2016, at 8:51:34 AM PDT. The electronically transmitted document(s) is in accordance with rule
  2.251 of the California Rules of Court, addressed as shown above. The list of electronically served recipients are listed
  below:


 VERUM LAW GROUP APC
 SKIM@VERUMLG.COM




                                                            Clerk of the Court, by:                         'W , Deputy




                     CLERK'S CERTIFICATE OF MAILING/ELECTRONIC SERVICE




                                                                                                                 Ex. A - 35
